Case 23-12954-amc            Doc 31
                                  Filed 05/17/24 Entered 05/17/24 12:10:28                            Desc Main
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                            LOCAL BANKRUPTCY FORM 9014-3
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Rothphila Bearng
                                  Debtor(s)                                           CHAPTER 13

PENNYMAC LOAN SERVICES, LLC
                     Movant
          vs.
                                                                                  NO. 23-12954 AMC
Rothphila Bearng
                                  Debtor
Kathyana Bousono
                                  Co-Debtor
                                                                            11 U.S.C. Section 362 and 1301
Kenneth E. West
                                  Trustee

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE


          PENNYMAC LOAN SERVICES, LLC has filed a Motion for Relief from Stay, with the court for
 Relief from the Automatic Stay of Section 362 and Co-Debtor Stay of Section 1301 of the Bankruptcy Code.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

         1.       If you do not want the court to grant the relief sought in the motion, then on or before May
 31, 2024, you or your attorney must do all of the following:
                  (a)     file an answer explaining your position at:
                                   United States Bankruptcy Court
                                     Robert N.C. Nix Building
                                   900 Market Street, Suite 400
                                   Philadelphia, PA 19107-4299

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to movant's attorney:
                                    Bankruptcy Group
                                    KML Law Group, P.C.
                                    Suite 5000 - BNY Mellon Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

          3.      A hearing on the motion is scheduled to be held before the Honorable Ashely M. Chan, the
 United States Bankruptcy Judge, in Courtroom 4 at the United States Bankruptcy Court, Robert N.C. Nix
 Building, 900 Market Street, Suite 400, Philadelphia, Pa. 19107-4299 on June 11, 2024, at 11am, or as soon
 thereafter as counsel can be heard, to consider the motion.
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         4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
request a copy from the attorney named in paragraph 1(b).

        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.

                                                /s/ Michael P. Farrington
                                                Michael P. Farrington, Esquire
                                                KML Law Group, P.C.
                                                701 Market Street, Suite 5000
                                                Philadelphia, PA 19106-1532
                                                Phone: (215) 627-1322 Fax: (215) 627-7734
                                               Attorneys for Movant/Applicant


May 17, 2024
